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17                          UNITED STATES DISTRICT COURT
18                         CENTRAL DISTRICT OF CALIFORNIA

19                                      WESTERN DIVISION

20
21    Kitsch LLC, a California
      company,                                    Case No. 2:19-cv-02556-JAK-RAO
22
23               Plaintiff/Counter-               DEFENDANT’S FIRST AMENDED
                 Defendant,                       COUNTERCLAIMS TO SECOND
24    v.                                          AMENDED COMPLAINT FOR
                                                  DECLARATORY JUDGMENT AND
25                                                DEMAND FOR JURY TRIAL
      DEEJAYZOO, LLC, a New
26    York company,

27               Defendant/Counter-
                 Plaintiff.
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 1         Defendant Deejayzoo, LLC (“Deejayzoo”) hereby submits these First Amended
 2   Counterclaims to Plaintiff Kitsch LLC’s (“Kitsch”) First Amended Complaint for
 3   Declaratory Judgment (“FAC”).
 4                                          THE PARTIES
 5         1.     Counterclaim Plaintiff Deejayzoo, LLC is a Limited Liability Company
 6   organized under the laws of the state of New York with a principal place of business at
 7   337 Kent Avenue, Brooklyn, New York 11249.
 8         2.     On information and belief, Counterclaim Defendant Kitsch LLC is a Limited
 9   Liability Company organized under the laws of California, having a principal place of
10   business at 307 N. New Hampshire, Los Angeles, California 90004.
11                                JURISDICTION AND VENUE
12         3.     This Court has subject matter jurisdiction pursuant to 35 U.S.C. § 271, 18
13   U.S.C. § 1836(c), and 28 U.S.C. §§ 1331, 1338(a), (b), 1367, and 1400(b).
14         4.     This Court has personal jurisdiction over Kitsch, because Kitsch is present,
15   doing business and/or residing in this District, because Kitsch has committed tortious acts
16   and violated Deejayzoo’s intellectual property rights in this District, because Kitsch knew
17   or should have known that such conduct would cause injury to Deejayzoo in the State of
18   California, and because Kitsch filed a complaint to begin this action.
19         5.     Venue is proper in the United States District Court for the Central District of
20   California under 28 U.S.C. §§ 1391(b), 1391(c), and 1400(b).
21                        DEEJAYZOO’S HEADPIECE PRODUCTS
22         6.     Deejayzoo develops, designs, produces, and sells fashion-forward, high-
23   quality headpieces that are marketed and distributed under the federally registered he THE
24   SHOWER CAP REINVENTED mark. Before the introduction of Deejayzoo’s products,
25   headpieces for use in the shower were typically unattractive, uncomfortable, and loud.
26   Deejayzoo vastly improved these tired old headpieces by introducing noise-dampening
27   materials and inventing a construction with a comfort band, stylish design, and attractive
28   prints suitable for wear outside in public. In so doing, Deejayzoo created an entirely new
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 1   product niche: the fashionable, reusable, comfortable headpiece, i.e. shower caps.
 2         7.     Deejayzoo markets and sells its shower caps through various websites and
 3   retail outlets, such as Sephora and Neiman Marcus. Deejayzoo has received acclaim for
 4   its revolutionary shower caps recognizing that Deejayzoo represented a novel, fresh take
 5   on the shower cap.
 6         8.     Deejayzoo has invested substantial resources to obtain trademark, patent, and
 7   other intellectual property rights to protect its place in the fashionable, reusable headpiece
 8   market—the very market that Deejayzoo itself created and cultivated. Deejayzoo is the
 9   holder of United States patents and trademark registrations relating to and covering its
10   SHHHOWERCAP product.
11                   DEEJAYZOO’S VALUABLE TRADEMARK RIGHTS
12         9.     Deejayzoo develops, designs, produces, and sells fashion-forward, high-
13   quality headpieces that are marketed and distributed under the trademark
14   SHHHOWERCAP (the “SHHHOWERCAP Mark”) and the federally registered
15   trademark THE SHOWER CAP REINVENTED(“THE SHOWER CAP REINVENTED
16   Mark”).
17         10.    Before the introduction of Deejayzoo’s products, shower caps were typically
18   unattractive, uncomfortable, and loud. Deejayzoo vastly improved these tired old
19   headpieces by introducing noise-dampening materials and inventing a construction with a
20   comfort band, stylish design, and attractive prints suitable for wear outside in public. In
21   so doing, Deejayzoo created an entirely new product niche: the fashionable, reusable,
22   comfortable headpiece.
23         11.    Deejayzoo owns and uses several valuable trademarks, including the
24   SHHHOWERCAP Mark and THE SHOWER CAP REINVENTED Mark.
25         12.    Since at least as early as December 6, 2015, Deejayzoo and its predecessor in
26   interest has used and continues to use the THE SHOWER CAP REINVENTED Mark in
27   conjunction with its innovative and unique headpieces.
28         13.    Since at least as early as December 6, 2015, Deejayzoo has used and
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 1   continues to use the SHHHOWERCAP Mark in conjunction with its innovate and unique
 2   headpieces on a nationwide basis.
 3         14.   An example of use of the THE SHOWER CAP REINVENTED Mark by
 4   Deejayzoo is on packaging for its SHHHOWERCAP product, shown below:
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16         15.   On May 23, 2017, the United States Patent and Trademark Office

17   (“USPTO”) duly and legally issued U.S. Registration No. 5,208,472 for THE SHOWER

18   CAP REINVENTED Mark.

19         16.   Deejayzoo is the owner of all right, title and interest in and to the THE

20   SHOWER CAP REINVENTED Mark and has the right to sue for infringement of the

21   THE SHOWER CAP REINVENTED Mark.

22         17.   Deejayzoo is the owner of all right title and interest in and to the

23   SHHHOWERCAP Mark and has worked tirelessly to establish significant goodwill and

24   recognition with its mark.

25                                DEEJAYZOO’S PATENT RIGHTS

26         18.   On October 10, 2014, design patent application no. 29/504,909, entitled

27   “Noise Reducing Water Resistant Headwear Cap” (“’909 application”) was filed with the

28   USPTO.

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 1         19.   On January 10, 2017, the USPTO duly and legally issued U.S. Patent No.
 2   D775,792 (“D’792 Patent”) from the ’909 application.
 3         20.   A true and correct copy of the D’792 Patent is attached as Exhibit A.
 4         21.   The D’792 Patent discloses and claims a novel, ornamental design for a
 5   headpiece, shown in part below:
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24         22.   Deejayzoo is the owner of all right, title and interest, by way of assignment,

25   in and to the D’792 Patent and has the right to sue for infringement of the D’792 Patent.

26         23.   On August 27, 2015, utility patent application no. 14/837,063, entitled

27   “Noise Reducing Water Resistant Headpiece” (“’063 application”) was filed with the

28   USPTO.

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 1         24.    On July 17, 2018, the USPTO duly and legally issued U.S. Pat. No.
 2   10,021,930 (“’930 Patent”) from the ’063 application.
 3         25.    A true and correct copy of the ’930 Patent is attached as Exhibit B.
 4         26.    The ’930 Patent discloses and claims, among other things, a covering
 5   apparatus comprising a unitary material; a grip; an elastic member; a gathered band; and
 6   an elongated band; wherein the gathered band and the elongated band are of a unitary
 7   construction; wherein the gather band and the elongated band are attached to a periphery
 8   of the covering apparatus; wherein the elastic member is enclosed within the gathered
 9   band; wherein the unitary material comprises an outer layer and an inner layer; wherein
10   the outer layer comprises a fabric; wherein the outer layer is water repellent; wherein the
11   inner layer is polyurethane; wherein the covering apparatus comprises a plurality of folds;
12   wherein the plurality of folds culminate in a point at a front of the covering apparatus
13   above the elongated band; wherein the elastic member is located at a rear of the covering
14   apparatus; and wherein the covering apparatus is a shower cap.
15         27.    Deejayzoo is the owner of all right, title and interest, by way of assignment,
16   in and to the ’930 Patent and has the right to sue for infringement of the ’930 Patent.
17                         KITSCH’S INFRINGING SHOWER CAPS
18         28.    On information and belief, Kitsch has sold Kitsch Shower Caps through
19   various channels, including Kitsch’s own website (www.mykitsch.com), Paper Source,
20   Urban Outfitters, Amazon, Walgreens, South Moon Sales, QVC, Got Beauty, Shop Bop,
21   Kali Beauty, Belle and Blush, Scheels, Von Maur, Riley Rose, and Express.
22         29.    The Kitsch Shower Caps are and have been sold in several different patterns,
23   including at least the following:
24         •      Luxe Shower Cap – Floral;
25         •      Luxe Shower Cap – Blush Dot;
26         •      Luxe Shower Cap – Palm Leaves;
27         •      Luxe Shower Cap – Black; and
28         •      Luxe Shower Cap – Black and White Stripe.
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 1         •      Kayley Melissa X Kitsch Shower Cap
 2         30.    Kitsch has advertised and sold, and continues to advertise and sell, the Kitsch
 3   Shower Caps in interstate commerce in association with the mark “THE SHOWER CAP,
 4   REINVENTED” (the “Counterfeit Mark”) as shown below:
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           31.    Kitsch’s use of the Counterfeit Mark is identical to and confusingly similar to
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     Deejayzoo’s THE SHOWER CAP REINVENTED Mark in appearance, sound, meaning,
19
     and commercial impression.
20
           32.    Kitsch’s use of the Counterfeit Mark trades off of the goodwill of
21
     Deejayzoo’s THE SHOWER CAP REINVENTED Mark and is without permission or
22
     license from Deejayzoo.
23
           33.    Kitsch’s infringement of Deejayzoo’s THE SHOWER CAP REINVENTED
24
     Mark has been and continues to be knowing and willful. Kitsch was on constructive
25
     notice of the THE SHOWER CAP REINVENTED Mark by virtue of its federal
26
     registration. Kitsch has been on actual notice of its infringing activity since no later than
27
     July 19, 2018.
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 1         34.    The Kitsch Shower Cap incorporates the design illustrated and claimed in the
 2   D’792 Patent, and therefore the Kitsch Shower Cap infringes the D’792 Patent.
 3         35.    The Kitsch Shower Caps comprise a covering apparatus comprising a unitary
 4   material; a grip; an elastic member; a gathered band; and an elongated band; wherein the
 5   gathered band and the elongated band are of a unitary construction; wherein the gather
 6   band and the elongated band are attached to a periphery of the covering apparatus;
 7   wherein the elastic member is enclosed within the gathered band; wherein the unitary
 8   material comprises an outer layer and an inner layer; wherein the outer layer comprises a
 9   fabric; wherein the outer layer is water repellent; wherein the inner layer is polyurethane;
10   wherein the covering apparatus comprises a plurality of folds; wherein the plurality of
11   folds culminate in a point at a front of the covering apparatus above the elongated band;
12   wherein the elastic member is located at a rear of the covering apparatus; and wherein the
13   covering apparatus is a shower cap. Therefore, the Kitsch Shower Caps infringe the ’930
14   Patent.
15         36.    Kitsch knowingly, actively induced and continues to knowingly, actively
16   induce (or is willfully blind to the) infringement of the D’792 Patent and the ’930 Patent
17   within this district by making, using, offering for sale, and selling infringing products, as
18   well as by contracting with others to use, market, sell, and offer to sell infringing products,
19   all with knowledge of the D’792 Patent and the ’930 Patent, and their claims, with
20   knowledge that their customers will use, market, sell, and offer to sell infringing products
21   in this district and elsewhere in the United States, and with the knowledge and specific
22   intent to encourage and facilitate infringing sales and use of the products by others within
23   this district and the United States by creating and disseminating promotional and
24   marketing materials, instructional materials, and product manuals, and technical materials
25   related to the infringing products.
26                            ACTUAL CONSUMER CONFUSION
27         37.    On information and belief, the relevant consumer public has experienced and
28   continues to experience actual confusion about the connection or association between the
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 1   Kitsch Shower Caps and Deejayzoo.
 2         38.    Representatives from Deejayzoo have received questions regarding an
 3   apparent affiliation between Deejayzoo and the Kitsch Shower Caps based on the
 4   packaging for and sale of the Kitsch Shower Caps.
 5         39.    Deejayzoo is aware of images posted on social media of the Kitsch Shower
 6   Caps in which the post indicated a belief that the Kitsch Shower Caps were affiliated with
 7   Deejayzoo.
 8                                      AD WORD CONFUSION
 9         40.    On information and belief, Kitsch purchased the Google Adword
10   “Shhhowercap” to sell its exact same competing product. On information and belief,
11   Kitsch has been using “Shhhowercap” as a Google Adword since at least April 2020 and
12   continues to do so through the date of filing this Amended Counterclaim.
13         41.    Deejayzoo is the senior user, as it began using the SHHHOWERCAP Mark
14   nearly four years before Kitsch’s alleged first use.
15         42.    When a consumer Google searches for Deejayzoo’s products by searching
16   “Shhhowercap”, it is met with an ad for the Kitsch Shower Caps, which contains the
17   SHHHOWERCAP Mark as part of the advertisement.
18         43.    Kitsch’s advertisements are non-descript so that an ordinary consumer of
19   Deejayzoo’s products would not be able to tell that the advertisement did not in fact
20   belong to Deejayzoo and did not sell Deejayzoo’s products.
21         44.    Instead, the consumer would be mistakenly led to purchase a Kitsch Shower
22   Cap, through the use and inclusion of the SHHHOWERCAP Mark.
23         45.    Accordingly, a consumer intending to find Deejayzoo’s products or website,
24   can instead find the Kitsch Shower Caps, which they will be confused into believing are
25   Deejayzoo’s products, or they will be confused into thinking that the the Kitsch Shower
26   Caps are at least endorsed by Deejayzoo so that consumers ultimately purchase the
27   product from Kitsch and not Deejayzoo.
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 1                                              COUNT I
 2                  (Federal Trademark Infringement – 15 U.S.C. § 1114(1))
 3         46.    Deejayzoo repeats and realleges each and every allegation of paragraphs 1
 4   through 45 above.
 5         47.    Deejayzoo’s federally registered THE SHOWER CAP REINVENTED Mark
 6   is presumed to have acquired distinctiveness and continues to acquire further substantial
 7   distinctiveness and goodwill in the marketplace through Deejayzoo’s use of that mark in
 8   commerce. As a result of Deejayzoo’s widespread and continuous use of the THE
 9   SHOWER CAP REINVENTED Mark, the THE SHOWER CAP REINVENTED Mark
10   has become associated in the minds of the relevant purchasing public with Deejayzoo.
11   The reputation and goodwill that Deejayzoo has built-up in its THE SHOWER CAP
12   REINVENTED Mark is of great value to Deejayzoo.
13         48.    Kitsch’s sale of shower caps under the THE SHOWER CAP REINVENTED
14   Mark, as described herein, is likely to have caused and is likely to cause confusion,
15   mistake and/or deception among the relevant public, including consumers, as to the
16   affiliation, connection, or association between the Kitsch Shower Cap product and the
17   Deejayzoo SHHHOWERCAP product, and/or mislead the public into thinking that
18   Deejayzoo is the origin of, has sponsored, or has approved of Kitsch’s products and/or
19   commercial activities. Kitsch’s actions irreparably harm the value of Deejazoo’s THE
20   SHOWER CAP REINVENTED Mark and injure Deejayzoo’s reputation and goodwill.
21         49.    Kitsch’s actions, as described above, are likely to cause confusion, or to
22   cause mistake or to deceive consumers as to the origin, sponsorship or approval of
23   Kitsch’s products in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).
24         50.    Kitsch created, adopted and used in commerce the confusingly similar
25   designation THE SHOWER CAP, REINVENTED with full knowledge of Deejayzoo’s
26   rights in the THE SHOWER CAP REINVENTED Mark. The sale and promotion of
27   shower caps under the Counterfeit Mark has been made in bad faith and with a willful and
28   deliberate intent to pass off Kitsch’s shower caps as those of Deejayzoo, and trade on the
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 1   significant goodwill developed in the THE SHOWER CAP REINVENTED Mark. In view
 2   of the willful nature of Kitsch’s activities, this is an exceptional case within the meaning
 3   of 15 U.S.C. § 1117(a).
 4         51.    Kitsch’s infringement has damaged Deejayzoo, has resulted in unjust
 5   enrichment to Kitsch, and has caused and will continue to cause, unless enjoined by this
 6   Court, substantial and irreparable damage and injury to Deejayzoo and the public, for
 7   which damage and injury Deejayzoo has no adequate remedy at law.
 8                                              COUNT II
 9                       (Federal Unfair Competition – 15 U.S.C. § 1125(a))
10                         (THE SHOWER CAP REINVENTED Mark)
11         52.    Deejayzoo repeats and realleges each and every allegation of paragraphs 1
12   through 51 above.
13         53.    Kitsch’s actions, as described above, constitute a false designation of origin,
14   or a false representation, which wrongfully and falsely designates the origin of the Kitsch
15   Shower Cap as originating from or being approved by Deejayzoo, and thereby constitutes
16   false description or representation used in interstate commerce in violation of Section
17   43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
18         54.    Kitsch’s acts have caused, and unless and until such acts are enjoined by this
19   Court pursuant to 15 U.S.C. § 1116, will continue to cause, great and irreparable injury to
20   Deejayzoo.
21         55.    Deejayzoo has no adequate remedy at law.
22         56.    By virtue of its acts, Kitsch has violated Section 43(a) of the Lanham Act, 15
23   U.S.C. § 1125(a).
24                                              COUNT III
25      (Counterfeit of THE SHOWER CAP REINVENTED Mark – 15 U.S.C. § 1114)
26         57.    Deejayzoo repeats and realleges each and every allegation of paragraphs 1
27   through 56 above.
28         58.    Deejayzoo owns a valid United States Trademark Registration for the THE
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 1   SHOWER CAP REINVENTED Mark, as set forth above.
 2           59.   Well before any of Kitsch’s actions complained of herein were committed,
 3   Deejayzoo had continuously used the THE SHOWER CAP REINVENTED Mark
 4   throughout the United States in connection with its SHHHOWERCAP products.
 5           60.   Kitsch uses a non-genuine version of the THE SHOWER CAP
 6   REINVENTED Mark that is essentially identical to, or substantially indistinguishable
 7   from, the THE SHOWER CAP REINVENTED Mark.
 8           61.   Kitsch’s use of the Counterfeit Mark without consent from Deejayzoo is a
 9   willful and intentional infringement of Deejayzoo’s THE SHOWER CAP REINVENTED
10   Mark.
11           62.   Kitsch has profited from its acts of infringement. Deejayzoo is entitled to
12   recover Kitsch’s profits arising from the infringement, any damages sustained by
13   Deejayzoo arising from said infringement, and the costs of this action. Deejayzoo also is
14   entitled to an enhanced award of profits and/or damages to fully and adequately
15   compensate it for Kitsch’s infringement. At its election, Deejayzoo also is entitled to
16   statutory damages.
17           63.   Kitsch has caused and, unless enjoined by this Court, will continue to cause
18   irreparable injury to Deejayzoo that is not fully compensable in monetary damages.
19   Deejayzoo is therefore entitled to a permanent injunction enjoining and restraining Kitsch
20   from use of the THE SHOWER CAP REINVENTED Mark or any mark that is
21   confusingly similar to the THE SHOWER CAP REINVENTED Mark.
22                                              COUNT IV
23                      (Unfair Competition under California Business and
24                               Professions Code §§ 17200 et seq.)
25           64.   Deejayzoo repeats and realleges each and every allegation of paragraphs 1
26   through 63 above.
27           65.   The above-described conduct of Kitsch constitutes unlawful and unfair
28   competition in violation of California Business & Professions Code §§ 17200 et seq. (the
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 1   “UCL”), in that such acts were and are unlawful, unfair, deceptive and/or fraudulent
 2   business acts.
 3         66.    Kitsch’s actions as alleged above violate the “unfair” prong of the UCL
 4   because, on information and belief, (a) the utility of such actions is outweighed by the
 5   gravity of harm they cause to Deejayzoo, (b) such actions are immoral, unethical,
 6   oppressive, unscrupulous, and substantially injurious to consumers, (c) such actions
 7   constitute incipient violations of state and federal antitrust laws, and/or (d) such actions
 8   violate Section 5 of the FTC Act.
 9         67.    Kitsch’s actions as alleged above violate the “fraudulent” prong of the UCL,
10   because they are likely to mislead and confuse a statistically significant percentage of
11   reasonable consumers.
12         68.    Kitsch’s actions as alleged above violate the “unlawful” prong of the UCL
13   because those same actions also constitute violations of the state and federal statutes set
14   forth in this Complaint.
15         69.    As the direct and proximate result of Kitsch’s wrongful conduct, Deejayzoo
16   has suffered and will continue to suffer actual injury and the loss of money, including
17   irreparable injury to its reputation and goodwill. Unless enjoined, Kitsch’s wrongful
18   conduct will continue to cause great, immediate and irreparable injury to Deejayzoo.
19         70.    Deejayzoo is without an adequate remedy at law.
20         71.    Deejayzoo is therefore entitled to injunctive relief, pursuant to California
21   Business and Professions Code § 17203.
22                                              COUNT V
23                (Infringement of U.S. Patent No. D775,792 – 35 U.S.C. § 271)
24         72.    Deejayzoo repeats and realleges each and every allegation of paragraphs 1
25   through 71 above.
26         73.    Deejayzoo is the owner of the D’729 Patent and has the right to sue for
27   infringement of the D’729 Patent.
28         74.    The D’729 Patent is valid and enforceable.
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 1         75.    Deejayzoo has virtually marked its Shhhowercap products as practicing the
 2   D’729 Patent, in compliance with 35 U.S.C. § 287, at
 3   https://www.shhhowercap.com/patents.
 4         76.    Kitsch has directly infringed and continues to directly infringe the D’729
 5   Patent within the meaning of 35 U.S.C. § 271(a) by making, using, selling, offering to
 6   sell, and importing shower caps that include the design illustrated and claimed in the
 7   D’729 Patent, including at least the following products:
 8         •      Luxe Shower Cap – Floral;
 9         •      Luxe Shower Cap – Blush Dot;
10         •      Luxe Shower Cap – Palm Leaves;
11         •      Luxe Shower Cap – Black;
12         •      Luxe Shower Cap – Black and White Stripe; and
13         •      Kayley Melissa X Kitsch Shower Cap.
14         77.    Kitsch has induced infringement of and continues to induce infringement of
15   the D’729 Patent within the meaning of 35 U.S.C. § 271(b) by selling or otherwise
16   providing shower caps that include the design illustrated and claimed in the D’729 Patent
17   to customers with knowledge that such customers will sell or use such shower caps, and
18   with the intent that such sales or use will infringe the D’729 Patent.
19         78.    The Kitsch Shower Cap bears a striking resemblance to the design disclosed
20   and claimed in the D’729 Patent, as illustrated below.
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30                                                     13                       Case No. 2:19-cv-02556-JAK-RAO
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 1                  D’729 Patent                                   Kitsch Shower Cap
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13         79.    In the eye of an ordinary observer, giving such attention as a purchaser
14   usually gives, the design of the Kitsch Shower Cap is substantially the same as the design
15   illustrated and claimed in the D’729 Patent.
16         80.    Upon information and belief, Kitsch’s infringing activities have damaged
17   Deejayzoo in an amount to be proven at trial. Among other remedies, Deejayzoo is
18   entitled to Kitsch’s total profit from sales of the Kitsch Shower Cap under 35 U.S.C.
19   § 289, or to Deejayzoo’s lost profits or a reasonable royalty to adequately compensate
20   Deejayzoo for Kitsch’s infringing activities under 35 U.S.C. § 284.
21         81.    Additionally, the harm to Deejayzoo is not fully compensable by money
22   damages. Deejayzoo has suffered and continues to suffer irreparable harm that has no
23   adequate remedy at law and that will continue unless the infringing conduct by Kitsch is
24   enjoined.
25         82.    Upon information and belief, Kitsch acted in an objectively reckless manner
26   with respect to Deejayzoo’s patent rights. Upon information and belief, Kitsch made,
27   used, sold, and offered for sale its infringing shower cap products knowing that it was
28   highly likely that its acts would constitute infringement of a valid patent. Kitsch knew, or
30                                                    14                       Case No. 2:19-cv-02556-JAK-RAO
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 1   should have known, that its actions were highly likely to result in the infringement of a
 2   valid patent. As a consequence, Kitsch has engaged in willful infringement of the patents-
 3   in-suit and Deejayzoo is therefore entitled to treble damages and attorneys’ fees as well as
 4   costs incurred in this action along with prejudgment interest under 35 U.S.C. §§ 284 and
 5   285. Kitsch’s infringement of the D’729 Patent has been willful since no later than July
 6   19, 2018, when Kitsch was placed on actual notice of its infringement.
 7                                             COUNT VI
 8               (Infringement of U.S. Patent No. 10,021,930 – 35 U.S.C. § 271)
 9         83.    Deejayzoo repeats and realleges each and every allegation of paragraphs 1
10   through 82 above.
11         84.    Deejyzoo is the owner of the ’930 Patent and has the right to sue for
12   infringement of the ’930 Patent.
13         85.    The ’930 Patent is valid and enforceable.
14         86.    Kitsch has infringed and continues to infringe at least claims 1, 3, 5, 6, and 7
15   of the ’930 Patent within the meaning of 35 U.S.C. § 271(a) by making, using, selling,
16   offering to sell, and importing the Kitsch Shower Cap, including at least the following
17   variants of the Kitsch Shower Cap:
18         •      Luxe Shower Cap – Floral;
19         •      Luxe Shower Cap – Blush Dot;
20         •      Luxe Shower Cap – Palm Leaves;
21         •      Luxe Shower Cap – Black;
22         •      Luxe Shower Cap – Black and White Stripe; and
23         •      Kayley Melissa X Kitsch Shower Cap.
24         87.    The Kitsch Shower Cap is a covering apparatus that is a shower cap and that
25   comprises a grip, a gathered band, and an elongated band, as annotated below. The
26   gathered band and the elongated band are of a unitary construction and are attached to a
27   periphery of the covering apparatus.
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30                                                    15                       Case No. 2:19-cv-02556-JAK-RAO
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10         88.    The Kitsch Shower Cap comprises a unitary material. The unitary material
11   comprises an outer layer and an inner layer, as annotated above. According to laboratory
12   testing, the outer layer comprises a fabric and is water repellent. According to laboratory
13   testing, the inner layer is polyurethane.
14         89.    The Kitsch Shower Cap comprises an elastic member enclosed within the
15   gathered band. Like the gathered band, the elastic member is located at a rear of the
16   covering apparatus.
17         90.    The Kitsch Shower Cap comprises a plurality of folds that culminate in a
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30                                                     16                       Case No. 2:19-cv-02556-JAK-RAO
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 1   point at a front of the covering apparatus above the elongated band, as annotated below.
 2         91.     The grip of the Kitsch Shower Cap is stitched, bonded or piped to an inner
 3   portion of the covering apparatus.
 4         92.     On information and belief, the Kitsch Shower Cap is knit or woven.
 5         93.     On information and belief, the Kitsch Shower Cap is antimicrobial or
 6   breathable.
 7         94.     On information and belief, the grip of the Kitsch Shower Cap comprises at
 8   least one of rubber, fabric, or neoprene.
 9         95.     Kitsch has infringed and continues to infringe claim 2 of the ’930 patent
10   within the meaning of 35 U.S.C. § 271(a) by making, using, selling, offering to sell, and
11   importing the Kitsch Shower Cap, including at least the following variants of the Kitsch
12   Shower Cap (collectively, the “Kitsch Patterned Shower Caps”):
13         •       Luxe Shower Cap – Floral;
14         •       Luxe Shower Cap – Blush Dot;
15         •       Luxe Shower Cap – Palm Leaves;
16         •       Luxe Shower Cap – Black and White Stripe; and
17         •       Kayley Melissa X Kitsch Shower Cap.
18         96.     On information and belief, the unitary material of the Kitsch Patterned
19   Shower Caps comprises a plurality of digitally sublimated designs.
20         97.     Kitsch has induced infringement of and continues to induce infringement of
21   claims 1-3 and 5-7 of the ’930 Patent within the meaning of 35 U.S.C. § 271(b) by selling
22   or otherwise providing the Kitsch Shower Cap to customers with knowledge that such
23   customers will sell or use such shower caps, and with the intent that such sales or use will
24   infringe the ’930 Patent.
25         98.     Upon information and belief, Kitsch’s infringing activities have damaged
26   Deejayzoo in an amount to be proven at trial. Among other remedies, Deejayzoo is
27   entitled to Deejayzoo’s lost profits, and in no event less than a reasonable royalty, to
28   adequately compensate Deejayzoo for Kitsch’s infringing activities under 35 U.S.C.
30                                                     17                       Case No. 2:19-cv-02556-JAK-RAO
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 1   § 284.
 2            99.   Additionally, the harm to Deejayzoo arising from these acts by Kitsch is not
 3   fully compensable by money damages. Deejayzoo has suffered and continues to suffer
 4   irreparable harm that has no adequate remedy at law and that will continue unless the
 5   infringing conduct by Kitsch is enjoined.
 6            100. Upon information and belief, Kitsch acted in an objectively reckless manner
 7   with respect to Deejayzoo’s patent rights. Upon information and belief, Kitsch made,
 8   used, sold, and offered for sale its infringing shower cap products knowing that it was
 9   highly likely that its acts would constitute infringement of a valid patent. Kitsch knew, or
10   should have known, that its actions were highly likely to result in the infringement of a
11   valid patent. As a consequence, Kitsch has engaged in willful infringement of the patents-
12   in-suit and Deejayzoo is therefore entitled to treble damages and attorneys’ fees as well as
13   costs incurred in this action along with prejudgment interest under 35 U.S.C. §§ 284 and
14   285. Kitsch’s infringement of the ’930 Patent has been willful since no later than July 19,
15   2018, when Kitsch was placed on actual notice of its infringement.
16                                          COUNT VII
17                       (Federal Unfair Competition – 15 U.S.C. § 1125(a))
                                  (The SHHHOWERCAP Mark)
18
              101. Deejayzoo repeats and realleges each and every allegation of paragraphs 1
19
     through 100 above.
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              102. Deejayzoo’s SHHHOWERCAP Mark has acquired distinctiveness and
21
     continues to acquire further substantial distinctiveness and goodwill in the marketplace
22
     through Deejayzoo’s use of that mark in commerce. As a result of Deejayzoo’s
23
     widespread and continuous use of the SHHHOWERCAP Mark, the SHHHOWERCAP
24
     Mark has become associated in the minds of the relevant purchasing public with
25
     Deejayzoo. The reputation and goodwill that Deejayzoo has built-up in its
26
     SHHHOWERCAP Mark is of great value to Deejayzoo.
27
              103. Kitsch’s actions, as described above, constitute a false designation of origin,
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30                                                      18                       Case No. 2:19-cv-02556-JAK-RAO
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 1   or a false representation, which wrongfully and falsely designates the origin of the Kitsch
 2   Shower Cap as originating from or being approved by Deejayzoo, and thereby constitutes
 3   false description or representation used in interstate commerce in violation of Section
 4   43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
 5         104. Kitsch’s direct use of the SHHHOWERCAP Mark without Deejayzoo’s
 6   consent in connection with its own products constitutes a false designation of origin, false
 7   or misleading description of fact, or false or misleading representation of fact, which in
 8   commercial advertising or promotion, misrepresents the nature, characteristics, qualities,
 9   or geographic origin of his or her or another person’s goods or commercial activities in
10   violation of 15 U.S.C. § 1125(a).
11         105. Specifically, when Kitsch used the SHHHOWERCAP Mark in the
12   connection with the promotion, marketing and advertising of a similar product it was done
13   in a manner likely to cause confusion and to create a false sense of connection between
14   Kitsch and Deejayzoo.
15         106. Such conduct is likely to confused and mislead consumers as to the origin of
16   Kitsch’s products or cause consumers to believe that Kitsch’s products have been
17   sponsored, approved, authorized or licensed by Deejayzoo, or in some way affiliated or
18   connected, when in fact they are not.
19         107. Upon information and belief, Kitsch’s actions were undertaken willfully with
20   full knowledge of the falsity of such designation of origin and false descriptions or
21   representations.
22         108. Kitsch has derived and received, and will continue to derive and receive,
23   gains, profits, and advantages from its false designation of origin, false or misleading
24   statements, descriptions of fact, or false or misleading representations of fact in an amount
25   that is not presently known to Deejayzoo. Plaintiff has been damaged and is entitled to
26   monetary relief in an amount to be determined at trial.
27         109. Kitsch’s acts have caused, and unless and until such acts are enjoined by this
28   Court pursuant to 15 U.S.C. § 1116, will continue to cause, great and irreparable injury to
30                                                     19                       Case No. 2:19-cv-02556-JAK-RAO
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 1   Deejayzoo.
 2           110. Deejayzoo has no adequate remedy at law.
 3           111. By virtue of its acts, Kitsch has violated Section 43(a) of the Lanham Act, 15
 4   U.S.C. § 1125(a).
 5                                      PRAYER FOR RELIEF
 6           WHEREFORE, Deejayzoo respectfully requests this Court to enter judgment
 7   against Kitsch, granting the following relief:
 8           A.    The entry of judgment in favor of Deejayzoo and against Kitsch on all
 9   Counterclaims;
10           B.    Designate this action as an exceptional case entitling Deejayzoo to an award
11   of its reasonable attorney’s fees incurred as a result of this action, pursuant to 15 U.S.C.
12   § 1117;
13           C.    Issue preliminary and permanent injunctive relief against Kitsch and its
14   officers, agents, representatives, servants, employees, attorneys, successors and assigns,
15   and all others in active concert or participation with Kitsch, enjoining and restraining them
16   from:
17                 (i) imitating, copying, or making any other infringing use of the THE
18                 SHOWER CAP REINVENTED Mark and/or the SHHHOWERCAP Mark
19                 by the Counterfeit Mark, and any other mark now or hereafter confusingly
20                 similar to the THE SHOWER CAP REINVENTED Mark and/or the
21                 SHHHOWERCAP Mark;
22                 (ii) manufacturing, assembling, producing, distributing, offering for
23                 distribution, circulating, selling, offering for sale, advertising, importing,
24                 promoting, or displaying any simulation, reproduction, counterfeit, copy, or
25                 colorable imitation of the THE SHOWER CAP REINVENTED Mark, the
26                 SHHHOWERCAP Mark, the Counterfeit Mark, or any mark confusingly
27                 similar thereto;
28                 (iii) engaging in any other activity constituting an infringement of the THE
30                                                      20                       Case No. 2:19-cv-02556-JAK-RAO
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 1                SHOWER CAP REINVENTED Mark and/or the SHHHOWERCAP Mark;
 2                and
 3                (iv) assisting, aiding, or abetting any other person or business entity engaging
 4                in or performing any of the activities referred to in subparagraphs (i) through
 5                (iii) above;
 6         D.     Order Kitsch, at its own expense, to recall all products and marketing,
 7   promotional, and advertising materials that bear or incorporate the Counterfeit Mark, the
 8   SHHHOWERCAP Mark, or any mark confusingly similar to the THE SHOWER CAP
 9   REINVENTED Mark, which have been manufactured, distributed, sold, or shipped by
10   Kitsch or on its behalf, and to reimburse all customers from which said materials are
11   recalled.
12         E.     Remove any confusingly similar Adwords from Google searches, including
13   but not limited to the SHHHOWERCAP Mark.
14         F.     Order Kitsch to immediately produce and turn over to Deejayzoo’s counsel,
15   all products, labels, signs, prints, packages, molds, plates, dies, wrappers, receptacles, and
16   advertisements in its possession or under its control, bearing the Counterfeit Mark, and/or
17   any simulation, reproduction, copy, or colorable imitation thereof, and all plates, molds,
18   matrices, and any other means of making the same.
19         G.     Order Kitsch to pay the general, special, actual, and statutory damages of
20   Deejayzoo as follows:
21                (i) Deejayzoo’s damages and Kitsch’s profits pursuant to 15 U.S.C.
22                § 1117(a), trebled pursuant to 15 U.S.C. § 1117(b) for Kitsch’s willful
23                violation of the federally registered trademark of Deejayzoo; and
24                (ii) If Deejayzoo so elects, statutory damages of up to $2,000,000 per
25                counterfeit mark, per type of product sold, offered for sale, or distributed,
26                pursuant to 15 U.S.C. § 1117(c);
27         H.     An award of damages adequate to compensate Deejayzoo for the patent
28   infringement that has occurred, and in no event less that a reasonable royalty, as permitted
30                                                     21                       Case No. 2:19-cv-02556-JAK-RAO
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 1   by 35 U.S.C. § 284, together with prejudgment interest;
 2           I.    Designate this action as an exceptional case, increase the award of damage to
 3   Deejayzoo by three times, and award Deejayzoo its reasonable attorney’ fees incurred as a
 4   result of this action pursuant to 35 U.S.C. § 285.
 5           J.    Such other and further relief as the Court deems just and proper.
 6
 7   DATED: July 1, 2020                       JAYARAM LAW, INC.
 8
 9                                         By /s/ Vivek Jayaram
10                                            Attorneys for Defendant
                                              Deejayzoo, LLC
11
12
                                   DEMAND FOR JURY TRIAL
13
             Counterclaim Plaintiff Deejayzoo, LLC demands a jury trial on all issues triable by
14
     jury.
15
     DATED: July 1, 2020                       JAYARAM LAW, INC.
16
17
18                                         By /s/ Vivek Jayaram
                                              Attorneys for Defendant
19                                            Deejayzoo, LLC
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30                                                     22                       Case No. 2:19-cv-02556-JAK-RAO
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